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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
                                                 CRIMINAL NO. 18-CR-00260 (ABJ)
               v.

 W. SAMUEL PATTEN,

                       Defendant.


                                NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court that Assistant United States Attorney Fernando

Campoamor-Sánchez is entering his appearance in this matter on behalf of the United States.


                                            Respectfully submitted,

                                            JESSIE K. LIU
                                            United States Attorney
                                            D.C. Bar No. 472845


                                     By:              /s/
                                            FERNANDO CAMPOAMOR-SÁNCHEZ
                                            Assistant United States Attorney
                                            D.C. Bar No. 451210
                                            United States Attorney’s Office
                                            555 4th Street NW, 11th Floor
                                            Washington, D.C. 20530
                                            Telephone: 202-252-7690
                                            Fernando.Campoamor-Sanchez@usdoj.gov
